Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 1 of 16 Page ID #:1




 1   THE LAW OFFICE OF ROBERT L. STARR
 2   Robert L. Starr (183052)
     robert@starrlaw.com
 3   Adam Rose (210880)
     adam@starrlaw.com
 4   23901 Calabasas Road, Suite 2072
     Calabasas, CA 91302
 5

 6   Attorneys for Plaintiff

 7
                                  UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9
                                       SOUTHERN DIVISION
10

11   HOWARD HOFFMAN, on behalf of himself           Case No.
     and others similarly situated,
12                                                  CLASS ACTION
                        Plaintiff,
13                                                  COMPLAINT FOR:
                           vs.
14                                                  VIOLATIONS OF CALIFORNIA
     FORD MOTOR COMPANY, a Corporation,             BUSINESS AND PROFESSIONS
15   and DOES 1 through 10, inclusive,              CODE SECTION 17200 ET SEQ.
16                    Defendants.                   DEMAND FOR JURY TRIAL
17

18
19

20

21

22

23

24

25

26
27

28


                                        CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 2 of 16 Page ID #:2




 1          Plaintiff Howard Hoffman (“Plaintiff”), individually and on behalf of all other members

 2   of the public similarly situated, brings this action against Defendant Ford Motor Company,

 3   (“Defendant” or “Ford”), upon information and belief, except as to his own actions, the

 4   investigation of his counsel, and the facts that are a matter of public record, and alleges as

 5   follows:

 6                                           INTRODUCTION

 7          1.      This case relates to the model year 2010 through 2012 Ford Fusion Hybrid,

 8   model year 2010 through 2011 Mercury Milan Hybrid and the model year 2011 through 2012

 9   Mercury MKZ Hybrid vehicles for which 13 California Code of Regulations Sections 1962.1,

10   2035, 2037 and 2038 apply. (collectively referred to as “Class Vehicles’). This lawsuit is

11   brought on behalf of Plaintiff, and on behalf of all other people and entities, other than those

12   who are excluded as stated herein, who have purchased or leased Class Vehicles in the State of

13   California (“Class Members”).

14          2.      Every Class Vehicle when sold or leased as a new vehicle came with warranty

15   coverage provided by Ford (“Ford Warranty”). The Ford Warranty was explained in a warranty

16   book (“Warranty Guide”) published by Ford and given to the purchasers and lessors of new

17   Class Vehicles.

18          3.      Class Vehicles are Advanced Technology Partial Zero Emissions Vehicles

19   (“PZEV”). As such, the scope and length of the PZEV Ford Warranty as explained in the

20   Warranty Guide is applicable to the Class Vehicles.

21          4.      In addition to the Ford Warranty, the Class Vehicles also have warranty coverage

22   for emissions-related defects, as set forth in 13 California Code of Regulations Sections 1962.1,

23   2035, 2037, and 2038 (“Regulations”). The Regulations obligate Ford to provide a 15-year

24   150,000 mile warranty relating to emissions defects, with the exception that the warranty is 10

25   years or 100,000 miles for the propulsion battery (“Emissions Warranty”).

26          5.      Ford has failed to comply with its obligations pursuant to the Emissions

27   Warranty, and pursuant to the Ford Warranty, resulting in Hoffman, and the Class Members

28   suffering damage. This lawsuit seeks to obtain a remedy for the resulting damage.
                                                     Page 1
                                           CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 3 of 16 Page ID #:3




 1                                                BACKGROUND

 2           6.       The Regulations require that for PZEV vehicles, including all Class Vehicles, all

 3   defects in materials or workmanship that would cause a vehicle’s on-board diagnostic

 4   malfunction indicator light to illuminate, that would increase emissions regulated by the State of

 5   California, and that would cause a vehicle to not pass a California smog check are warranted for

 6   15 years or 150,000 miles, whichever occurs first. The coverage is reduced to 10 years for a

 7   zero-emission energy storage device used for traction power, such as a propulsion battery.

 8           7.       Ford has failed to comply with the Regulations, with the Emissions Warranty,

 9   and even with the terms of its own Ford Warranty and Warranty Guide.

10                                       JURISDICTION AND VENUE

11           8.       This Court has original jurisdiction over the subject matter of this action pursuant

12   to 28 U.S.C. § 1332(d)(2)(A) because: (i) members of the Class are citizens of a state different

13   from that of Ford; and (ii) aggregating the claims of individual Class Members, the total matter

14   in controversy exceeds the sum or value of $5,000,000, exclusive of interests and costs. Further,

15   28 U.S.C. § 1332(d)(5) does not apply because (i) Ford is not a state, state official, or other

16   governmental entity against whom the Court may be foreclosed from ordering relief, and (ii) the

17   number of members of the Class in the aggregate exceeds 100.

18           9.       This Court has personal jurisdiction over Ford because Ford has sufficient

19   minimum contacts with California, having intentionally availed itself of the California market so

20   as to render the exercise of jurisdiction over it by this District Court consistent with traditional

21   notions of fair play and substantial justice.

22           10.      Venue is proper in this Court pursuant to 28 U.S.C. §1391 because Ford conducts

23   business within the State of California, has failed to designate with the office of the California Secretary

24   of State a principal place of business in California, and a substantial part of the events giving rise to the

25   claims alleged herein occurred in this District.

26                                                      PARTIES

27           11.      Plaintiff Howard Hoffman is, and at all times relevant hereto has been, a resident

28   of Orange County.
                                                         Page 2
                                               CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 4 of 16 Page ID #:4




 1           12.     Defendant Ford is a corporation doing business in the State of California. Ford

 2   distributes and sells vehicles in the state of California.

 3           13.     Plaintiff reserves the right to expand, limit, modify, or amend these allegations at

 4   any time, based upon, inter alia, changing circumstances and/or new facts obtained during

 5   discovery.

 6                                   SUBSTANTIVE ALLEGATIONS

 7           14.     On March 10, 2010, Plaintiff purchased a new 2010 Ford Fusion Hybrid, VIN

 8   3FADP0L3XAR323692 (the “Hoffman Vehicle”) from Villa Ford, located at 2550 North Tustin

 9   Avenue, Orange, California 92705. The Hoffman Vehicle came with the Ford Warranty and the

10   Warranty Guide. Furthermore, the Hoffman Vehicle came with an Emissions Warranty.

11           15.     The Hoffman Vehicle, and all Class Vehicles, when sold and at all times

12   thereafter, had and have the same emissions defect. The defect is that, during the time period of

13   warranty coverage stated by the Ford Warranty and the Emissions Warranty, the Class Vehicles

14   experience a condition where the electric drive motor does not provide the torque used for

15   acceleration that it was designed to provide. When this occurs, the Class Vehicles take longer to

16   accelerate and rely more on the torque provided by the gasoline engine in order to accelerate

17   (“Emissions Defect”). The Emissions Defect results in the Class Vehicles having increased

18   emissions, and results in the Class Vehicles having diminished power when accelerating. Thus,

19   the Emissions Defect is a covered defect under the Ford Warranty and the Emissions Warranty.

20   Furthermore, the diminished power on acceleration results in the Class Vehicles being unsafe.

21           16.     During the Emissions Warranty and the Ford Warranty, Ford has known of the

22   Emissions Defect, and has known that it manifests during the warranty period. Numerous

23   owners of Class Vehicles have complained about the Emissions Defect.

24           17.     On October 3, 2019, Ford published Special Service Message 48238 (“SSM

25   48238”) regarding the Emissions Defect. SSM 48238 reads, “Some 2010-2012 Fusion hybrid

26   electric vehicle (HEV), 2010-2011 Milan HEV and 2011-2012 MKZ HEV vehicles may

27   experience reduced electric vehicle operation and increased gasoline engine operation. Do not

28   attempt repairs at this time. Engineering is investigating, monitor OASIS for updates.”
                                                      Page 3
                                            CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 5 of 16 Page ID #:5




 1          18.     SSM 48238 was distributed by Ford to its authorized repair facilities. The reason

 2   Ford published SSM 48238 was to prevent its authorized repair facilities from charging Ford for

 3   attempting to diagnose or repair the Emissions Defect.

 4          19.     Pursuant to SSM 48238, Ford has instructed its authorized repair facilities to not

 5   attempt to repair the Emissions Defect, even though the Emissions Defect renders the Class

 6   Vehicles unsafe and increases emissions.

 7          20.     It is alleged on information and belief that Ford knows how to resolve the

 8   Emissions Defect and can provide a repair protocol to its authorized repair facilities. It is alleged

 9   on information and belief that one remedy to resolve the Emissions Defect is to change the

10   propulsion battery, however this is an expensive repair. It is alleged on information and belief

11   that Ford is searching for a less expensive remedy, and has thus instructed its authorized repair

12   facilities, for now, not to attempt to repair the Emissions Defect.

13          21.     Ford has failed to provide an extended warranty relating to the Emissions Defect,

14   and has failed to acknowledge to owners and lessees that the Emissions Defect exists. Thus,

15   unless Ford changes its course of conduct, many owners and lessees will be denied warranty

16   coverage once the applicable warranties expire.

17          22.     Ford has received numerous complaints regarding the Emissions Defect, directly

18   from Class Members, and through its factory authorized repair facilities. Ford has refused to

19   publicly acknowledge there is a problem. Furthermore, because of how Ford has handled this

20   matter, Ford’s factory authorized repair facilities repeatedly advise purchasers and lessees that

21   there is no defect in the Class Vehicles. Additionally, Ford authorized repair facilities, knowing

22   that they will not get paid by Ford to diagnose and repair the problem, actually charge

23   consumers a fee to diagnose if there is a problem, then wrongfully deny that any problem exists.

24          23.     The Warranty Guide states that Ford and its authorized repair facilities are

25   entitled to a reasonable time and a reasonable number of attempts within which to diagnose and

26   repair any defect covered by the warranty (page 8 of Warranty Guide). The Warranty Guide

27   states that consumers will not be charged for diagnosis, repair, replacement or adjustment of

28   parts containing an emissions-related defect (page 15 of the Warranty Guide). The Warranty
                                                     Page 4
                                           CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 6 of 16 Page ID #:6




 1   Guide states that where a warrantable condition exists, Ford will repair the vehicle at no cost to

 2   the consumer including diagnosis, parts, and labor (page 15 of the Warranty Guide). The

 3   Warranty Guide states that if the diagnosis does not reveal a defect, the Defects Warranty does

 4   not apply (page 26 of the Warranty Guide).

 5          24.     Ford is violating the terms of the Ford warranty, and the the Emissions Warranty,

 6   by instructing its authorized repair facilities to not attempt to repair a defect which not only

 7   effects emissions, but is a serious safety defect. On information and belief, Ford knows how to

 8   fix the Emissions Defect, but has instructed its factory authorized repair facilities to not attempt

 9   a repair relating to the Emissions Defect, while Ford searches for a less expensive repair.

10          25.     On January 20, 2020, at 73,951 miles, Hoffman took the Hoffman Vehicle to

11   Fairway Ford (“Fairway”), a Ford authorized repair facility, for repairs (“January Repair

12   Attempt”). The Hoffman repair records state, “Check vehicle seems to stay in gas mode and not

13   switch to electric (fuel economy down as a result). Test all modules using IDS—no does

14   present—reset MPG & monitored—fuel economy is what is posted for vehicle—specs 41 mpg

15   city—hwy 36 mpg—results 42 mpg city—50 mpg hwy—vehicle operating as designed—engine

16   turns on/off as designed. Hoffman was charged a diagnostic fee of $160.00 to evaluate his

17   complaint.

18          26.     The January Repair Attempt should have been covered under the Emissions

19   Warranty and Ford Warranty. Ford repudiated the warranty by refusing to cover the diagnostic

20   fee, and by Ford’s general instructions to factory authorized repair facilities to not make a repair

21   attempt. Although Ford has identified the Emissions Defect, Ford has failed to provide factory

22   authorized repair facilities with any reliable protocol to verify the Emissions Defect. This is

23   because Ford does not want its factory authorized repair facilities to confirm the existence of the

24   Emissions Defect. This is because Ford does not want its factory authorized repair facilities to

25   attempt to repair the defect. Furthermore, the nature of the Emissions Defect is such that each

26   Class Vehicle suffers from the Emissions Defect. No diagnosis is necessary; the Emissions

27   Defect exists. Ford is violating the terms of the Ford Warranty and the Emissions Warranty.

28
                                                     Page 5
                                            CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 7 of 16 Page ID #:7




 1          27.     Fairway is not allowed to make repairs relating to the Emissions Defect. Further,

 2   pursuant to the terms of the Ford Warranty, there would be no payment to Fairway by Ford even

 3   if the Emissions Defect was diagnosed, because Ford had specifically instructed its dealerships

 4   to not make a repair attempt. As a result, Fairway performed a feigned attempted diagnosis,

 5   charged Hoffman for the feigned attempted diagnosis, because Ford was certainly not going to

 6   pay for the feigned diagnosis, and returned the Hoffman Vehicle to Hoffman, stating there was

 7   no defect. The lack of an effort to actually diagnose the problem is evident based upon a review

 8   of the repair record. The repair record stated that the fuel economy on the highway and city

 9   were monitored, however the repair record does not indicate how many miles the Hoffman

10   Vehicle was test driven. Hoffman appears to have been billed only one hour for the diagnosis,

11   and the Hoffman Vehicle was only with the Fairway for one day. Fairway clearly did not

12   conduct a meaningful fuel consumption test.

13          28.     Hoffman’s experience at Fairway is not unique. It is the systemic and widespread

14   experience by Class Members who complain about the Emissions Defect. This result is due to

15   Ford refusing to acknowledge the existence of the Emissions Defect to Class Members, and due

16   to Ford instructing its authorized repair facilities to not attempt to repair the Emissions Defect.

17   There is a systemic effort by Ford to dissuade its factory authorized repair facilities from

18   diagnosing the Emissions Defect. This is because even if the problem is diagnosed, factory

19   authorized repair facilities are not allowed to perform a repair, and the time spent diagnosing the

20   problem will not result in the factory authorized repair facility receiving money from Ford.

21          29.     Plaintiff and other Class members have suffered damage as a result of Ford’s

22   wrongful, unfair, and unlawful conduct. Plaintiff seeks compensation for said damage.

23          30.     Plaintiff seeks injunctive relief, compelling Ford to provide coverage relating to

24   the Emissions Defect, and compelling Ford to extend both the Emissions Warranty and the Ford

25   Warranty until a time that Ford determines how to resolve the Emissions Defect.

26                          PLAINTIFF’S CLASS ACTION ALLEGATIONS

27          31.     Plaintiff re-alleges and incorporates by reference each allegation set forth above.

28
                                                     Page 6
                                            CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 8 of 16 Page ID #:8




 1           32.    Plaintiff brings this action pursuant to Federal Rules of Civil Procedure Rules

 2   23(a), (b)(2) and (b)(3) on behalf of himself and members of the Class as defined below.

 3           33.    Excluded from the Class are Defendant, and its subsidiaries and affiliates; its

 4   current and former officers, directors, and employees (and members of their immediate

 5   families); and the legal representatives, heirs, successors or assigns of any of the foregoing.

 6           34.    All claims alleged herein arise under California law for which Plaintiff seeks

 7   relief authorized by California law.

 8           35.    Plaintiff’s proposed Class is defined as follows: All persons who purchased or

 9   leased model year 2010 through 2012 Ford Fusion Hybrid, 2010 through 2011 Mercury Milan

10   Hybrid and the 2011 through 2012 Mercury MKZ Hybrid vehicles for which 13 California Code

11   of Regulations Sections 1962.1, 2035, 2037 and 20388 apply. (collectively referred to as “Class

12   Vehicles’).

13           36.    Plaintiff’s proposed Subclass consists of and is defined as follows: All Class

14   Members who incurred out-of-pocket expenses due to the Emissions Defect (“Subclass”).

15           37.    Members of the Class and Subclass are referred to herein as “Class members.”

16           38.    Plaintiff reserves the right to redefine the Class and Subclass and to add

17   subclasses as appropriate based on further investigation, discovery, and specific theories of

18   liability.

19           39.    Plaintiff also seeks injunctive relief compelling Ford to provide coverage relating

20   to the Emissions Defect, and to extend both the Emissions Warranty and the Ford Warranty

21   until Ford instructs its factory authorized repair facilities as to how to fix the Emissions Defect.

22           40.    As required by Fed. R. Civ. P. 23(a)(2) and (b)(3), there are common questions

23   of law and fact common to the Class and those common questions predominate over any

24   questions affecting only individual issues. The common questions of fact and fact include:

25           (a)    Whether Ford has failed to comply with the terms of the Emissions Warranty;

26           (b)    Whether Ford has failed to comply with the terms of the Ford Warranty;

27

28
                                                     Page 7
                                            CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 9 of 16 Page ID #:9




 1          (c)    Whether Ford’s conduct is resulting in the Class Members being wrongfully

 2                 charged to diagnose whether or not Class Vehicle suffer from the Emissions

 3                 Defect;

 4          (d)    Whether the Emissions Defect exists;

 5          (e)    Whether purchasers and lessees of Class Vehicles have suffered damage as a

 6                 result of the Emissions Defect;

 7          (f)    Whether Ford’s conduct is an unlawful and unfair business practices in violation

 8                 of California Business & Professions Code section 17200, et seq.;

 9          (g)    Whether Plaintiff and Class members are entitled to injunctive relief requiring

10                 Ford to extend the Emissions Warranty and the Ford Warranty for the Class

11                 Vehicles relating to the Emissions Defect;

12          (h)    The appropriate amount of restitution, monetary penalties or damages resulting

13                 from Ford’s violations of California law.

14          41.    There is a well-defined community of interest in the litigation and the Class

15   Members are readily ascertainable:

16          (a)    Numerosity: The Class Members are so numerous that joinder of all Class

17                 Members would be unfeasible and impractical. The membership of the entire

18                 Class is unknown to Plaintiff at this time; however, the Class is estimated to be

19                 greater than one hundred (100) individuals and the identity of such membership

20                 is readily ascertainable by inspection of Defendant’s records.

21          (b)    Typicality: Plaintiff is qualified to, and will, fairly and adequately protect the

22                 interests of each Class Member with whom he has a well-defined community of

23                 interest, and Plaintiff’s claims (or defenses, if any) are typical of all Class

24                 Members as demonstrated herein.

25          (c)    Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the

26                 interests of each Class Member with whom he has a well-defined community of

27                 interest and typicality of claims, as demonstrated herein. Plaintiff acknowledges

28                 that he has an obligation to make known to the Court any relationship, conflicts
                                                     Page 8
                                          CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 10 of 16 Page ID #:10




  1                  or differences with any Class Member. Plaintiff’s attorneys, the proposed Class

  2                  counsel, are versed in the rules governing class action discovery, certification,

  3                  and settlement. Plaintiff has incurred, and throughout the duration of this action,

  4                  will continue to incur costs and attorneys’ fees that have been, are, and will be

  5                  necessarily expended for the prosecution of this action for the substantial benefit

  6                  of each Class Member.

  7          (d)     Superiority: The nature of this action makes the use of class action adjudication

  8                  superior to other methods. A class action will achieve economies of time, effort,

  9                  and expense as compared with separate lawsuits, and will avoid inconsistent

 10                  outcomes because the same issues can be adjudicated in the same manner and at

 11                  the same time for the entire class.

 12                        TOLLING OF THE STATUTE OF LIMITATIONS

 13          42.     Ford has actively engaged in misleading and dishonest conduct relating to the

 14   Emissions Defect, as set forth herein. Despite acting diligently, Plaintiff and Class Members

 15   lacked the resources and had no realistic ability to identify existence of the Emissions Defect.

 16   Plaintiff and Class Members cannot be reasonably expected on their own to learn or discover the

 17   existence of the Emissions Defect. Therefore, the discovery rule is applicable to the claims

 18   asserted by Plaintiff and Class Members, and the statute of limitations for bringing the claims

 19   set forth herein should be tolled.

 20          43.     Ford has actual and constructive knowledge that it is violating California law by

 21   failing to honor the terms of the Emissions Warranty and the Ford Warranty. Ford has concealed

 22   from Plaintiff and Class Members that Ford is violating California law as set forth herein. Any

 23   applicable statute of limitation is tolled by Ford’s knowledge, active concealment, and wrongful

 24   conduct set forth herein. Ford is further estopped from relying on any statute of limitation

 25   because of its concealment set forth herein.

 26
 27

 28
                                                     Page 9
                                            CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 11 of 16 Page ID #:11




  1                                      FIRST CAUSE OF ACTION

  2                           Violation of California Unfair Competition Law

  3                               (Cal. Bus. & Prof. Code §§ 17200, et seq.)

  4             44.   Plaintiff re-alleges and incorporates by reference each allegation set forth above.

  5             45.   California Business and Professions Code section 17200, et seq. (the “UCL”)

  6   prohibits “any unlawful, unfair or fraudulent business act or practice.” Ford has committed acts

  7   of unfair competition proscribed by the UCL, including the acts and practices alleged herein.

  8             46.   The UCL imposes strict liability. Plaintiff need not prove that Ford intentionally

  9   or negligently engaged in unlawful or unfair business practices – only that such practices

 10   occurred.

 11             47.   Ford is a “person” as defined by Business & Professions Code § 17201.

 12             48.   As a direct and proximate result of Ford’s acts and practices in violation of the

 13   UCL, Plaintiff and the Class Members have suffered injury in fact and lost money or property as

 14   set forth above and will continue to do so.

 15                                             Unlawful Prong

 16             49.   A business practice is “unlawful” under the UCL if it is forbidden by law or

 17   regulations, including the standard of professional conduct.

 18             50.   The violation of any law or regulation may serve as the predicate for a violation

 19   of the “unlawful” prong of the UCL.

 20             51.   Ford’s conduct is unlawful because it violates the California Code of

 21   Regulations, by failing to provide coverage under the Emissions Warranty. This unlawful

 22   conduct is done on a classwide basis.

 23             52.   Plaintiff and members of the Class have suffered injury in fact and a loss of

 24   money or property as a result of Ford’s unlawful conduct as set forth in detail.

 25             53.   Ford’s’ acts of unlawful competition as set forth above present a continuing

 26   threat and will persist and continue to do so unless and until this Court issues appropriate

 27   injunctive relief. Plaintiff also seeks attorneys’ fees and costs pursuant to, inter alia, C.C.P. §

 28   1021.5.
                                                      Page 10
                                              CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 12 of 16 Page ID #:12




  1                                               Unfair Prong

  2           54.     An act or act or practice is unfair if the injury is substantial, is not outweighed by

  3   any countervailing benefits to the public or to competition and is not an injury the public could

  4   reasonably have avoided. An act or practice also is unfair if it offends established public policy

  5   or is immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers. An

  6   act or practice also is unfair if Plaintiff’s claims are “tethered” to specific constitutional,

  7   statutory or regulatory provisions. Ford’s conduct violates all of these definitions.

  8           55.     As alleged above, Ford engages and has engaged in a systematic business

  9   practice of failing to comply with its obligations under the Emissions Warranty and the Ford

 10   warranty. Ford does this in an effort to reduce the amount of money that Ford spends on

 11   warranty-related repairs knowing that it would be very difficult if not impossible for most

 12   consumers to discover this unlawful and unfair conduct. If Ford complied with the Emissions

 13   Warranty and the Ford Warranty, Ford would encourage rather than dissuade the diagnosis and

 14   repair of the Emissions Defect, Ford would be honest with Class Members regarding the

 15   existence of the Emissions Defect, and Ford would extend the warranty relating the Emissions

 16   Defect. Ford unfairly refuses to fulfill its obligations for the sole purpose of saving money.

 17           56.     Plaintiff and members of the Class have suffered injury in fact and a loss of

 18   money or property as a result of Ford’s unfair business acts and practices as set forth in detail.

 19           57.     Ford’s unfair conduct as set forth herein is a uniform, and systematic statewide

 20   business practice on the part of Ford to minimize the amount of money that Ford has to pay out

 21   in warranty claims. This conduct violates California law.

 22           58.     All of the acts and practices of Ford as described in this complaint constitute

 23   “unfair” business acts and practices. A business act or practice is “unfair” under the UCL if the

 24   reasons, justifications and motives of the alleged wrongdoer are outweighed by the gravity of

 25   the harm to the alleged victims. Plaintiff suffered injury in fact and a loss of money or property

 26   as a result of Ford’s unfair business acts and practices. It is Plaintiff’s information and belief

 27   that Class members have also suffered injury as a result of Ford’s wrongful conduct.

 28
                                                       Page 11
                                              CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 13 of 16 Page ID #:13




  1          59.     Ford’s conduct does not benefit the Class Members or competition. Plaintiff and

  2   Class members could not reasonably avoid the injury each of them suffered or will suffer, which

  3   injury is substantial. Ford’s conduct only benefits Ford, by enabling Ford to avoid having to pay

  4   warranty claims which should be covered by the Emissions Warranty and the Ford Warranty.

  5          60.     The gravity of the consequences of Ford’s conduct as described above outweighs

  6   the justification, motive or reason therefor, is immoral, unethical and unscrupulous, and offends

  7   established public policy that is tethered to legislatively declared policies as set forth in the laws

  8   detailed above, or is substantially injurious to the public, for the reasons set forth above.

  9          61.     Ford’s conduct offends established public policy that is tethered to legislatively

 10   declared policies as set forth in the laws detailed above, including California laws and

 11   regulations regarding California’s Emission Control System Warranty Requirements, and is

 12   substantially injurious to the public, for the reasons set forth above.

 13          62.     To the extent that any definition of “unfair” requires a balancing test or weighing

 14   various factors, such an inquiry is fact intensive and requires a full factual record as to Ford’s

 15   justification and motives for its conduct, and as to the impact of Ford’s conduct on Plaintiff and

 16   Class members.

 17          63.     Ford’s acts of unfair competition as set forth above present a continuing threat

 18   and will persist and continue to do so unless and until this Court issues appropriate injunctive

 19   relief. Plaintiff also seeks attorneys’ fees and costs pursuant to, inter alia, C.C.P. § 1021.5.

 20

 21                                             Deceptive Prong

 22          64.     Ford engages and has engaged in a systematic business practice of concealing

 23   and denying the existence of the Emissions Defect from Class Members, even when Class

 24   Members complain about the Emissions Defect.

 25          65.     Said conduct is a statewide systematic business practice on the part of Ford to

 26   minimize the amount of money that Ford has to pay out in warranty claims. This conduct

 27   violates California law.

 28
                                                      Page 12
                                             CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 14 of 16 Page ID #:14




  1          66.      Ford’s conduct is likely to deceive an ordinary Class Member, because Ford is

  2   engaging in an active concealment of a known problem, and instructing its factory authorized

  3   repair facilities to not attempt repairs. Instructing the factory authorized repair facilities to not

  4   attempt to repair the Emissions Defect strongly discourages the factory authorized repair

  5   facilities from diagnosing the existence of the Emissions Defect. As a result, due to Ford’s

  6   concealment of the problem, Class Members are misled, wrongfully denied warranty coverage,

  7   and even charged a diagnosis fee. The wrongful denial is done with the specific intent by Ford

  8   to avoid having to pay warranty claims.

  9          67.      Plaintiff and the Class Members have justifiability relied on the conduct of the

 10   Ford authorized repair facilities, done at the direction of Ford. As a result, Class Members have

 11   incurred diagnostic fees, have been denied warranty coverage, and have suffered other damage.

 12          68.      Ford is fully aware of its obligations pursuant to the Emissions Warranty and

 13   Ford Warranty. However, in derogation if its legal obligations, Ford conceals from Class

 14   Members the true facts relating to the Emissions Defect, in order to reduce the amount of money

 15   that Ford has to pay in warranty claims. Ford has a duty to abstain from this wrongful conduct.

 16          69.      The facts concealed and not disclosed by Ford to Plaintiff and members of the

 17   Class are material. Had Plaintiff and the Class Members known the truth about the Warranty

 18   Defect, Plaintiff and the Class Members would have refused to pay diagnosis fees, and would

 19   have insisted on Ford providing warranty coverage relating to the Emissions Defect, regardless

 20   of Ford’s current efforts to try to develop a cost effective-remedy. As a result, Plaintiff and

 21   members of the Class have suffered damage.

 22          70.      Ford continues to engage in said fraudulent and deceitful conduct.

 23                                         PRAYER FOR RELIEF

 24           WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, prays for

 25   relief and judgment against Ford as follows:

 26           1.      For an order certifying this case as a class action, appointing Plaintiff as the

 27   representative of the Class and Subclass, and appointing counsel for Plaintiff as Class Counsel;

 28           2.      That the Court declare, adjudge and decree that that Ford is financially
                                                       Page 13
                                              CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 15 of 16 Page ID #:15




  1   responsible for notifying all Class members about the wrongful conduct set forth herein;

  2             3.     That the Court declare, adjudge and decree that that Ford’s failure to provide

  3   Emissions Warranty coverage and Ford Warranty coverage constitutes an unfair and unlawful

  4   business practice in violation of California Business and Professions, Civil Code sections

  5   17200, et seq.

  6             4.     For an order enjoining Ford from further deceptive practices, compelling Ford to

  7   provide Emissions Warranty coverage and Ford Warranty Coverage relating to the Emissions

  8   Defect.

  9             5.     For an award to Plaintiff and Class members of compensatory and statutory

 10   damages as appropriate, including interest, in an amount to be proven at trial;

 11             6.     For an award to Plaintiff and Class members of any repair costs they are owed;

 12             7.     For a declaration that Ford must disgorge, for the benefit of Plaintiff and Class

 13   members, all or part of the ill-gotten profits it received as a result of the wrongful conduct set

 14   forth herein, or make full restitution to Plaintiff and Class members;

 15             8.     For the appointment of a receiver as necessary to receive, manage and distribute

 16   any and all funds disgorged from Ford and determined to have been wrongfully acquired by

 17   Ford as a result of violations of California Business & Professions Code sections 17200, et seq.;

 18             9.     For an award of attorneys’ fees and costs, as allowed by law;

 19             10.    For an award of attorneys’ fees and costs pursuant to California Code of Civil

 20   Procedure § 1021.5;

 21             11.    For an award of pre-judgment and post-judgment interest;

 22             12.    For leave to amend the Complaint to conform to the evidence produced at trial;

 23   and,

 24             13.    For injunctive relief, compelling Ford to provide coverage relating to the

 25   Emissions Defect, and compelling Ford to extend the Ford Warranty and the Emissions

 26   Warranty until Ford instructs it authorized repair facilities how to repair the Emissions Defect.

 27             14.    For all other relief as may be appropriate under the circumstances.

 28
                                                      Page 14
                                             CLASS ACTION COMPLAINT
Case 8:20-cv-00846-JLS-KES Document 1 Filed 05/04/20 Page 16 of 16 Page ID #:16




  1   Date: May 4, 2020                            Respectfully submitted,

  2
                                                   THE LAW OFFICE OF ROBERT L. STARR
  3

  4                                                  /s/ Robert Starr
                                                     Attorney for Plaintiff
  5

  6

  7   Jury Demand
  8   Plaintiff demands a jury trial pursuant to Fed. R. Civ. Pro. 38.
  9   Date: May 4, 2020                              /s/ Robert Starr
 10

 11

 12

 13

 14

 15

 16

 17

 18
 19

 20

 21

 22

 23

 24

 25

 26
 27

 28
                                                    Page 15
                                           CLASS ACTION COMPLAINT
